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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

Shiyan Jiang,                                 §
                                              §
        Plaintiff,                            §
                                              §
v.                                                                1:17-cv-739
                                              § CIVIL ACTION NO. ___________
                                              §
Texas Commission on Environmental             §
Quality; and Kim Wilson, individually         §
and in her capacities as Director of          §
Water Availability,                           §
                                              §
        Defendants.                           §




                                 INDEX OF DOCUMENTS FILED


        The following documents from the state court action are attached for filing in this case.

1.      Plaintiff’s Original Petition and Request for Disclosures

2.      Return of Service – Texas Commission on Environmental Quality

3.      Return of Service – Kim Wilson

4.      Defendants’ Original Answer

5.      Defendants’ State Court Notice of Removal

6.      Docket Sheet–Travis County District Court




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                                         Respectfully submitted.

                                         KEN PAXTON
                                         Attorney General of Texas

                                         JEFFREY C. MATEER
                                         First Assistant Attorney General

                                         BRANTLEY STARR
                                         Deputy First Assistant Attorney General

                                         JAMES E. DAVIS
                                         Deputy Attorney General for Civil Litigation

                                         ANGELA V. COLMENERO
                                         General Litigation Division, Division Chief

                                         /s/ Michael R. Abrams
                                         Michael R. Abrams
                                         Texas Bar No. 24087072
                                         Assistant Attorney General
                                         Office of the Attorney General
                                         General Litigation Division
                                         P.O. Box 12548, Capitol Station
                                         Austin, Texas 78711-2548
                                         Phone: 512-463-2120
                                         Fax: 512-320-0667

                                         Counsel for Defendants

                                 CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing document has been served through
the Court’s electronic filing system on August 8, 2017:

        Colin Walsh
        Robert J. Wiley
        ROB WILEY, PC
        1011 San Jacinto Blvd, Ste 401
        Austin TX 78701
        cwalsh@robwiley.com

                                                    /s/ Michael R. Abrams
                                                    MICHAEL R. ABRAMS
                                                    Assistant Attorney General




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                                                                                   8/4/2017 9:57 AM
                                                                                                   Velva L. Price
                                                                                                  District Clerk
                                                                                                  Travis County
                                 CAUSE NO. D-1-GN-17-003108                                    D-1-GN-17-003108
                                                                                               Sandra Henriquez
SHYYAN JIANG,                                 §       IN THE 250TH DISTRICT COURT
    Plaintiff,                                §
                                              §
v.                                            §       OF
                                              §
TEXAS COMMISSION ON                           §
ENVIRONMENTAL QUALITY; and                    §
KIM WILSON, individually and in her           §
Capacities as Director of Water Availability, §
       Defendants.                            §       TRAVIS COUNTY, TEXAS

                  DEFENDANTS’ ORIGINAL ANSWER AND DEFENSES

       Defendants Texas Commission on Environmental Quality and Kim Wilson, individually

and in her capacity as Director of Water Availability (collectively, Defendants) respectfully file

their Original Answer and Defenses to Plaintiff Shiyan Jiang’s Original Petition.

                                   I.         GENERAL DENIAL

       In accordance with Rule 192 of the Texas Rules of Civil Procedure, Defendants hereby

generally deny each and every allegation set forth in Plaintiff’s Original Petition, and demand strict

proof thereof.

                                        II.      DEFENSES

       Defendants assert the following defenses:

1.     Defendants assert the affirmative defense of sovereign immunity, to the extent applicable.

2.     Defendants assert the affirmative defense of official immunity, to the extent applicable.

3.     Defendants assert the affirmative defense of immunity from liability, to the extent

applicable.

4.     Defendant Wilson asserts the affirmative defense of qualified immunity, to the extent

applicable.

5.     Defendants assert the affirmative defense of limitations, to the extent applicable.

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6.      Plaintiff fails to state claims upon which relief can be granted.

7.      Plaintiff’s claims, in whole or in part, are barred by Plaintiff’s failure to exhaust his

administrative remedies.

8.      Any alleged actions taken against Plaintiff were based on neutral, non-discriminatory, non-

retaliatory practices.

9.      Adverse employment actions taken with regard to Plaintiff, if any, were based solely on

information, observation, or evidence unrelated to his protected activities, if any, and would have

been taken regardless of Plaintiff’s protected activities, if any.

10.     Defendants assert that they acted in good faith and without malice, willfulness, or intent.

11.     Any challenged action, practice or policy taken against Plaintiff was taken for a legitimate

business or governmental operations reason.

12.     Plaintiff’s damages are subject to the applicable cap on damages as required by law.

13.     Plaintiff has failed to avoid or mitigate his damages as required by law.

14.     Defendants reserve the right to assert additional affirmative defenses at a later date as such

defenses become known to Defendants throughout the course of litigation.

                                          III.    PRAYER

        Defendants pray that Plaintiff take nothing by this suit, that all costs be taxed and adjudged

against Plaintiff, and that Defendants be granted such other relief to which they may be justly

entitled.




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                               Respectfully submitted.

                               KEN PAXTON
                               Attorney General of Texas

                               JEFFREY C. MATEER
                               First Assistant Attorney General

                               BRANTLEY STARR
                               Deputy First Assistant Attorney General

                               JAMES DAVIS
                               Deputy Attorney General for Civil Litigation

                               ANGELA V. COLMENERO
                               Division Chief - General Litigation


                               /s/ Michael R. Abrams
                               MICHAEL R. ABRAMS
                               Texas Bar No. 24087072
                               Assistant Attorney General
                               Office of the Attorney General
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                               Michael.Abrams@texasattorneygeneral.gov

                               Counsel for Defendants




                               3
        Case 1:17-cv-00739-RP Document 1-4 Filed 08/08/17 Page 29 of 34




                               CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing document has been served through
the Court’s electronic filing system and via electronic mail on August 4, 2017:

       Colin Walsh
       Robert J. Wiley
       ROB WILEY PC
       1011 San Jacinto Blvd, Ste 401
       Austin TX 78701
       cwalsh@robwiley.com

                                                   /s/ Michael R. Abrams        ___
                                                   MICHAEL R. ABRAMS




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                                                                                8/7/2017 9:05 AM
                                                                                                Velva L. Price
                                                                                               District Clerk
                                                                                               Travis County
                                CAUSE NO. D-1-GN-17-003108                                  D-1-GN-17-003108
                                                                                                 Carlos Martin
SHYYAN JIANG,                                 §     IN THE 250TH DISTRICT COURT
    Plaintiff,                                §
                                              §
v.                                            §     OF
                                              §
TEXAS COMMISSION ON                           §
ENVIRONMENTAL QUALITY; and                    §
KIM WILSON, individually and in her           §
Capacities as Director of Water Availability, §
       Defendants.                            §     TRAVIS COUNTY, TEXAS

                   DEFENDANTS’ NOTICE OF FILING OF REMOVAL

TO:    Velva L. Price, Travis County District Clerk, 1000 Guadalupe Street, Austin, Texas 78701

       Pursuant to 28 U.S.C. § 1446(d), you are hereby given notice that Defendants Texas

Commission on Environmental Quality and Kim Wilson, individually and in her capacity as

Director of Water Availability, will file their Notice of Removal on August 8, 2017, in the United

States District Court for the Western District of Texas, Austin Division, thereby removing this

cause to federal court. This Court is respectfully requested to proceed no further in this action,

unless and until such time as the action may be remanded by order of the United States District

Court for the Western District of Texas.




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                                               Respectfully submitted.

                                               KEN PAXTON
                                               Attorney General of Texas

                                               JEFFREY C. MATEER
                                               First Assistant Attorney General

                                               BRANTLEY STARR
                                               Deputy First Assistant Attorney General

                                               JAMES DAVIS
                                               Deputy Attorney General for Civil Litigation

                                               ANGELA V. COLMENERO
                                               Division Chief - General Litigation


                                               /s/ Michael R. Abrams
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                                               Counsel for Defendants


                               CERTIFICATE OF SERVICE

        I certify that on August 7, 2017, a true and correct copy of the foregoing document was
served through the Court’s electronic filing system on:

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       Austin TX 78701
       cwalsh@robwiley.com

                                                   /s/ Michael R. Abrams          ___
                                                   MICHAEL R. ABRAMS

                                              2
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                            6.
Travis County - AARO - Details                                                       https://public.co.travis.tx.us/aaro/
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